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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-304-CNS-MDB

ROBERT HARRISON and GRACE
HEATH, on behalf of themselves, the
ENVISION MANAGEMENT HOLDING,
INC. ESOP, and all other similarly situated
individuals,

              Plaintiffs,

v.

ENVISION MANAGEMENT HOLDING,
INC. BOARD OF DIRECTORS, ENVISION
MANAGEMENT HOLDING, INC.
EMPLOYEE STOCK OWNERSHIP PLAN
COMMITTEE, ARGENT TRUST
COMPANY, DARREL CREPS, III, PAUL
SHERWOOD, JEFF JONES, NICOLE
JONES, AARON RAMSAY, TANWEER
KHAN, and LORI SPAHN,

              Defendants.


     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING COMMON
       INTEREST AGREEMENT WITH THE UNITED STATES DEPARTMENT
                              OF LABOR
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       Defendants submit the following response, as permitted by the Court’s July 22, 2024

Minute Order (D.E. 219), to Plaintiffs’ Brief Regarding Common Interest Agreement with the

United States Department of Labor (D.E. 221) (“Plaintiffs’ Brief” or “Pls.’ Br.”). As discussed

below, arguments in Plaintiffs’ Brief do not alter the fact that Magistrate Judge Braswell decided

correctly to compel Plaintiffs to produce summaries of interviews from DOL’s audit of Argent

(the “DOL Summaries”), which the U.S. Department of Labor (“DOL”) had shared with Plaintiffs

under the guise of a common interest agreement.

                                          ARGUMENT

A.     Plaintiffs Did Not Join the Government’s Statement of Interest Because the
       Government Contradicts Positions Plaintiffs Have Taken in This Litigation

       In its July 22, 2024 Minute Order, the Court provided that “on or before July 29, 2024,

Plaintiffs shall file a motion on the broader issue of the common interest agreement, which the

Court will refer [to Judge Braswell],” and “[a]lternatively, should the government file a brief on

the issue consistent with its Notice Regarding United States’ Notice of Potential Participation, ECF

No. [218], Plaintiffs may simply file a notice of joinder.” See D.E. 219 (emphasis added). Later,

on July 22, the United States Government (the “Government”) filed a Statement of Interest in

Plaintiffs’ Objections to Magistrate Judge Order (D.E. 220) (the “SOI”). Therein, the Government

asserted a common interest agreement between DOL and Plaintiffs, and argued that the DOL

Summaries are privileged under work product and qualified governmental privileges.              The

Government argued that, based on the common interest agreement, such privileges were not

waived because DOL shared the Summaries with Plaintiffs’ counsel. See SOI at 3-10.

       Despite the Court’s invitation that Plaintiffs simply join the Government’s brief, Plaintiffs

took the curious step of filing their own brief on the issue. The reason is apparent on the face of

the Government’s SOI—the Government’s characterizations of DOL’s audit of Argent, and



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allegations that DOL made in a demand letter that it sent to Argent in the course of that audit,

completely contradict representations that Plaintiffs have made in this litigation.

       Specifically, before the Government filed its SOI, Plaintiffs had represented to the Court

in class certification briefing that DOL reached an “ultimate conclusion that Argent violated

ERISA,” D.E. 172 at 5-6 (emphasis in original), and elsewhere that “the full unredacted Demand

Letter is highly relevant to their claims,” D.E. 211 at 3-4 (emphasis added). Plaintiffs have

asserted at different times that the demand letter is relevant because it purportedly shows “a pattern

and practice of Argent violating the law,” see Mar. 19, 2024 Hr’g Tr. at 21:15-22, and as “evidence

of notice and habit,” see D.E. 211 at 3-4. And Plaintiffs have represented to multiple deponents

that DOL found Argent to have violated ERISA.

       Juxtapose that with the Government’s position on behalf of DOL. In stark contrast to

Plaintiffs, the Government is now seeking to avoid DOL having to produce its Summaries, by

arguing exactly the opposite of Plaintiffs—that “DOL has not made a conclusion” regarding

whether Argent violated ERISA, and that “the preliminary mental impressions of DOL

investigators are completely irrelevant to this case.” See SOI at 8 (emphasis added).

       There is simply no way to square the representations that Plaintiffs and the Government

have made in this case. It is no wonder, then, that the Plaintiffs are now unable to join the

Government in its arguments. This obvious fissure casts serious doubt on Plaintiffs’ argument that

Plaintiffs and DOL are pursuing a “common legal strategy” in the first place, see Pls.’ Br. at 2,

which is required for their common interest agreement to be valid.

B.     The Government’s Belated Characterization of the DOL’s Demand Letter Provides
       But the Latest Example of Unfairness Perpetrated on Defendants in This Litigation

       The fact that Defendants are only just now learning of the Government’s contradictory

view of DOL’s audit of Argent and DOL’s demand letter—months after discovery closed in this



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case—is just the latest example of fundamental unfairness in the way that Plaintiffs and DOL have

attempted to leverage their purported common interest. Before now, Plaintiffs conducted this

litigation in an unfair fashion by, among other things: (1) hiding their common interest agreement

with DOL from Defendants until Judge Braswell compelled them to produce it, see D.E. 216 at 2-

6; (2) waiting until the eve of critical depositions before producing an unredacted version of DOL’s

demand letter that Plaintiffs had received from DOL; (3) litigating a purported dispute over

redactions to the demand letter before Judge Braswell, at the same time that Plaintiffs already had

the unredacted letter; and (4) failing to timely produce or log responsive documents that Plaintiffs

received from DOL (including the DOL Summaries). It was to “‘correct an imbalance in fairness

that Plaintiffs caused’” by this conduct, among other reasons, that Judge Braswell ordered

Plaintiffs to produce the DOL Summaries in the first place. See D.E. 207 at 5.

       Now, Defendants have just learned (well after the close of discovery) that Plaintiffs and

DOL hold contradictory views about the state of DOL’s audit of Argent and the relevance of

allegations in DOL’s demand letter to Argent. If Plaintiffs and DOL actually had a common

interest in this litigation, and they were coordinating in furtherance of such common interest, that

would lead to one of two conclusions: either Plaintiffs knew that DOL viewed its audit as “open”

and its “preliminary views” as “irrelevant,” and argued and represented to the Court that DOL had

reached an “ultimate conclusion” that Argent violated ERISA anyway, which would have been

deceptive; or DOL believed its demand letter was “irrelevant” and stood idly by while Plaintiffs

argued in this litigation that DOL’s demand letter showed a “pattern and practice” or “habit” of

Argent violating ERISA. Either way, the delayed disclosure of these contradictory views creates

yet another “imbalance in fairness” that the Court should correct.




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         As Defendants argue in their response to the SOI being filed contemporaneously herewith,

the most practical and fair course of action would be for the Court to exclude from this case all

information from DOL’s audit of Argent, including its prior demand letter and any findings DOL

may render in the future, as well as any deposition testimony that Plaintiffs gathered on the issue.

Alternatively, if allegations from DOL’s audit remain an issue in this case, DOL’s asserted

privileges should give way to discovery of the facts underlying DOL’s demand letter (including in

the DOL Summaries) to, among other reasons, “‘correct an imbalance in fairness that Plaintiffs

caused’” when they failed to disclose the DOL Summaries, the common interest agreement, and

other documents evidencing Plaintiffs’ counsel’s close relationship with DOL.1 D.E. 207 at 5.

C.       The Common Interest Agreement Does Not Provide an Independent Basis for
         Withholding the DOL Summaries

         Even if the Court were to find that the written common interest agreement between

Plaintiffs and DOL is valid, notwithstanding the contradictory positions that Plaintiffs and DOL

(through the Government) have presented in this case, Plaintiffs admit in their Brief that “[t]he

common interest doctrine is not a stand-alone privilege but, rather, is an exception to the waiver

of privilege when privileged information is shared with third parties.” See Pls.’ Br. at 1.

Accordingly, the existence of a written common interest agreement between Plaintiffs and DOL

does not provide an independent basis on which Plaintiffs, DOL, or the Government may resist

Judge Braswell’s Discovery Order requiring Plaintiffs to produce the DOL Summaries. Given that

the Summaries are not privileged in the first place, for reasons explained in Defendants’ response

to the SOI and in Defendants’ response to Plaintiffs’ Objections (D.E. 216), the Court should


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  The Government currently represents that DOL’s audit of Argent is “still open,” see SOI at 2, but if DOL were to
render final findings at some future date while this case is still pending, and Plaintiffs sought to introduce them in a
similar manner as they have used DOL’s demand letter, then Defendants would be back in the same place of seeking
the DOL Summaries as well as additional discovery from DOL regarding the factual basis for its findings. To avoid
having to waste judicial resources if that development were to occur, the Court should decide now that anything related
to DOL’s audit of Argent (past, present, and future) is excluded from this litigation.


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enforce Judge Braswell’s Discovery Order regardless of whether DOL in fact shared the

Summaries with Plaintiffs under the guise of a common interest agreement.

D.     For Additional Reasons, the Court Should Reject Arguments in Plaintiffs’ Brief

       Besides highlighting Plaintiffs’ admission that the common interest agreement does not

provide a standalone basis for Plaintiffs and DOL to withhold the DOL Summaries, there are

several additional bases for the Court to reject Plaintiffs’ position on its asserted common interest

with DOL.

       First, Defendants dispute that they have “waived any argument that the [common interest

agreement] is invalid.” See Pls.’ Br. at 3-4. Regardless of whether Defendants previously

challenged the validity of the common interest agreement, Judge Braswell provided expressly in

her July 2, 2024 Minute Order that “if Defendants have a viable basis for challenging the common

interest agreement, and they choose to challenge it, the Court will consider the arguments.” See

D.E. 207 at 5 n.2. In response to this comment by Judge Braswell, the Court directed Plaintiffs to

“file a motion on the broader issue of the common interest agreement.”               See D.E. 219.

Additionally, before the Government filed its SOI on July 22, 2024, Defendants had no way of

knowing that Plaintiffs and DOL would express contradictory views of DOL’s audit and demand

letter, which undermine the very basis of their asserted common interest. There has been no waiver

by Defendants.

       Second, Defendants dispute that DOL acted properly when it shared materials from its

audit of Argent with Plaintiffs under 29 U.S.C. § 1134(a), the statute that Plaintiffs claim allows

DOL to “share materials from investigations with ‘any person actually affected by any matter

which is the subject of an investigation.’” See Pls.’ Br. at 2. That is simply not the case, for a

number of reasons discussed below.




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       Plaintiffs admit that DOL sent them “an unredacted version of the DOL Demand Letter

pursuant to the common interest agreement,” see D.E. 211 at 3, and that letter contained

confidential information related to six Argent ESOP clients—not only the Envision ESOP.

Plaintiffs have no possible argument that they were “actually affected” by DOL’s audit of the five

other Argent ESOP clients, and thus DOL’s disclosure to Plaintiffs of those five clients’

confidential information was wrong.

       Moreover, the manner in which DOL is invoking 29 U.S.C. § 1134(a) violates the spirit of

the statute, at a minimum. After all, Argent and the Envision Defendants are also “actually

affected” by DOL’s audit of Argent, including whether DOL has concluded (or will conclude) that

Argent violated ERISA with respect to the Envision ESOP transaction, and yet DOL is only willing

to provide information to Plaintiffs. And § 1134(a) should not be read to permit what DOL has

done here, which is to in effect deputize a private plaintiffs’ firm to litigate ERISA claims against

entities that are involved in an audit that DOL describes as “currently open.” See D.E. 220-2 at

¶ 3. Here, DOL decided to involve itself in ongoing litigation by plan participants and their class

action contingent fee plaintiffs’ firm against an institutional trustee that DOL is charged with

regulating, and to do so by feeding information to the participants’ attorneys, even though DOL

apparently believes that information is “preliminary” and “completely irrelevant” to the litigation.

See SOI at 8. DOL also shared this information in violation of pre-disclosure requirements under

the Freedom of Information Act. Cf. 29 C.F.R. § 70.26; E.O. 12,600.

       Third, Plaintiffs decided to waive DOL’s asserted privileges by selectively producing some

information it received from DOL to use as a sword against Defendants; and Plaintiffs and DOL

in turn should not be allowed to use their purported common interest agreement as a shield against

production of additional information that DOL shared (including the DOL Summaries), which




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DOL would prefer to withhold from Defendants. Notably, Plaintiffs’ counsel represented to Judge

Braswell that counsel asked DOL for an unredacted version of its demand letter to use in

depositions of Argent employees and others, and DOL agreed to produce the letter for that

purpose. See Mar. 19, 2024 Hr’g Tr. at 28:11-15 (arguing that “we then obtained the [unredacted

DOL demand letter] from the Government because we were concerned that there was information

behind the redactions that had been improperly redacted, and that we didn’t want to be at risk of

having to ask the witnesses to come back”); id. at 30:12-17 (“And we’ve used the unredacted

version [of the DOL demand letter] in depositions. . . . Which is why we obtained it, because we

did not want to have to call witnesses back while we had a dispute about the redactions.”). In other

words, DOL gave this unredacted demand letter (which the Government is now arguing was

“preliminary” and “irrelevant”) to Plaintiffs, knowing Plaintiffs intended to use the letter as a

sword against Defendants and in depositions.

       Now, DOL wants the common interest agreement to serve as a shield against Defendants

learning alleged facts from the DOL Summaries that underlie allegations in the demand letter that

DOL gave Plaintiffs to selectively disclose. As Judge Braswell noted, interests of fundamental

fairness necessitate that the Court level the playing field. The Court can do so by requiring

production of the DOL Summaries in light of Plaintiffs’ waiver and selective production. In the

alternative, if the Court accepts the Government’s representation that the information DOL shared

under the common interest agreement is “irrelevant,” then the Court should exclude the DOL’s

demand letter and any statements from its audit of Argent from this case, in any form and for all

purposes, and all evidence and testimony derived therefrom.




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                                         CONCLUSION

       Plaintiffs and the Government cannot have things both ways. The Court should not permit

Plaintiffs to rely on the purported “conclusions” from DOL’s demand letter (which DOL now

expressly disavows as “irrelevant”) when it suits Plaintiffs, but allow the Government to hide

behind a host of dubious privileges to block Defendants from challenging those conclusions.

Likewise, the Court should not permit Plaintiffs’ counsel to selectively waive privileges (i.e., by

producing the unredacted DOL demand letter) when it suits their interest, but then shield DOL

from broader discovery into facts underlying DOL’s purported “conclusions” (including facts

contained in the DOL Summaries) when it does not suit Plaintiffs’ or the Government’s interests.

       Acutely present here is a new “imbalance of fairness,” just like previous imbalances that

Judge Braswell attempted to remedy by compelling Plaintiffs to produce the DOL Summaries.

The previous imbalances are now compounded in the context of a purported common interest

asserted by two parties who have articulated contradictory positions to this Court—Plaintiffs, who

want to leverage DOL’s demand letter as containing relevant findings of fiduciary breach (either

under a “pattern and practice,” a “habit,” or some other basis Plaintiffs may yet raise); and the

Government, which disavows such conclusions and their relevance in order to attempt to block

discovery into the basis for DOL’s conclusions.

       Defendants did not invite or interject into this lawsuit this torrent of conflicting positions

and fundamentally unfair tactics. And Defendants should not bear the brunt of it either. As Judge

Braswell found (even before the current conflicting positions became apparent), the playing field

needs to be leveled. She did that in her Discovery Order (see D.E. 202; D.E. 207), which this

Court should enforce.     For the reasons stated above, and in Defendants’ response to the

Government’s SOI, the Court should exclude from this case all of DOL’s allegations from its audit




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of Argent, and all evidence and testimony derived therefrom. In the alternative, if allegations from

DOL’s audit remain an issue in this case, the Court should allow Defendants to discover the DOL

Summaries (and other information underlying DOL’s allegations), regardless of the common

interest agreement between Plaintiffs and DOL.


       Respectfully submitted this 5th day of August, 2024.

BRYAN CAVE LEIGHTON PAISNER                          GROOM LAW GROUP, CHARTERED
LLP
                                                     /s/ William J. Delany
/s/ W. Bard Brockman                                 William J. Delany
W. Bard Brockman                                     Lars C. Golumbic
Katelyn W. Harrell                                   Andrew D. Salek-Raham
1201 West Peachtree Street NW                        Paul J. Rinefierd
One Atlantic Center, 14th Floor                      1701 Pennsylvania Avenue, NW, Suite
Atlanta, Georgia 30309                               1200
Telephone: (404) 572-6600                            Washington, DC 20006
Email: bard.brockman@bclplaw.com                     Telephone: (202) 857-0620
Email: Katelyn.harrell@bclplaw.com                   Email: wdelany@groom.com
                                                     Email: lgolumbic@groom.com
Michael J. Hofmann                                   Email: asalek-raham@groom.com
1700 Lincoln Street, Suite 4100                      Email: prinefierd@groom.com
Denver, Colorado 80203
Telephone: (303) 861-7000                            Attorneys for Defendant Argent Trust
E-mail: Michael.Hofmann@bclplaw.com                  Company

Attorneys for Defendants Envision Management
Holding, Inc. Board of Directors; Envision           FAEGRE DRINKER BIDDLE &
Management Holding, Inc. Employee Stock              REATH LLP
Ownership Plan Committee; Darrel Creps III,
Paul Sherwood, Jeff Jones, Nicole Jones, Aaron       /s/ Richard J. Pearl
Ramsay, Tanweer Khan, and Lori Spahn                 Richard J. Pearl
                                                     320 South Canal Street
                                                     Suite 3300
                                                     Chicago, Illinois 60606
                                                     Telephone: (312) 569-1907
                                                     Email: rick.pearl@faegredrinker.com

                                                     Attorney for Defendants Darrel Creps III,
                                                     Paul Sherwood, Jeff Jones, and Tanweer
                                                     Khan




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                               CERTIFICATE OF SERVICE

   The undersigned hereby certifies that on this 5th day of August, 2024, a true and correct copy

of the foregoing DEFENDANTS’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING

COMMON INTEREST AGREEMENT WITH THE UNITED STATES DEPARTMENT

OF LABOR was served on all counsel of record.


                                            /s/ William J. Delany
                                            William J. Delany
